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AO 91 (Rev. 11111)    Criminal Complaint


                                           UNITED STATES DISTRICT COURT
                                                                           for the
                                                                District of New Jersey

                     United States of America
                                   v.
                                                                                          Case No. 20-mj-2144
                            Joan Benitez




                              Defendant(s)


                                                        CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                         See Attachment A                  in the county of                   Cumberland             in the

                          District of             N_e_w_J_e_r_se~y,--
                                                              __ , the defendant(s) violated:

              Code Section                                                                  Description   of Offenses

21 USC 841                                            See Attachment A.




           This criminal complaint is based on these facts:

See Attachment B.




           I51f Continued on the attached sheet.




                                                                                                    Special Agent Jonathan         Snow, FBI
                                                                                                             Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     telephone                     (specifY reliable electronic means).

Date:                12/11/2020
                                                                                                               Judge's signature

                                           District of New Jersey                             Han. Ann Marie Donia, U.S. Magistrate Judge
City and state:
                                                                                                             Printed name and title
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                        CONTENTS APPROVED
                      UNITED STATES ATTORNEY



                 By:_~_!3_·~__
                           Andrew B. Johns
                        Assistant U.S. Attorney


                       Date: December 11,2020
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                                      ATTACHMENT         A

                                         COUNT ONE

                              Distribution of Methamphetamine



       From on or about January 22, 2020, to on or about September 9, 2020, in Cumberland
County, in the District of New Jersey, and elsewhere, the defendant,

                                        JOAN BENITEZ

did knowingly and intentionally distribute 50 grams or more of methamphetamine,      its salts,
isomer, and salts of its isomers, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Section 841(a)(I) and (b)(1)(A).
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                                          ATTACHMENT         B

         I.      I, Jonathan Snow, am a Special Agent with the Federal Bureau of Investigation ("FBI").
The facts in this affidavit come from my personal observations, my training and experience, and
information obtained from other agents and witnesses. This affidavit is intended to show merely that
there is sufficient probable cause for the requested Criminal Complaint and does not set forth all of my
knowledge about this matter nor does it identify all information known by the Government concerning
this investigation. Except as otherwise indicated, the actions, conversations, and statements of others
identified in this Affidavit are reported in substance and in part. Similarly, where events are described
with reference to dates and times the events should be read as having occurred on or about or at or
about the dated and time referenced.

        2.      Between on or about January 22,2020, and on or about September 9,2020, a
confidential human source (hereinafter, the "CBS"), at the direction of the FBI, was able to make
several controlled purchases of methamphetamine from Joan Benitez (hereinafter, the "Defednant").
Unless otherwise noted, the controlled purchases used the following procedures. First, the CHS's
person and vehicle would be searched for contraband. If none was found, the CHS would be equipped
with a recording device, given the money for the purchase, and then sent to meet with the Defendant.
The CHS would then meet with the Defendant, purchase the methamphetamine, and then return to a
predetermined location. The CBS would then turn over the suspected methamphetamine and debrief
law enforcement on hislher interaction with the Defendant. Law enforcement officers surveilled the
CBS as he/she travelled to and from the meeting with the Defendant to ensure that the CBS did not
make any unexpected stops. Unless otherwise noted, in each of the purchases described below, the
CBS provided US Currency to Defendant in exchange for a quantity of methamphetamine.

       3.     Below is a brief summary of a selection of the controlled purchases where the
Defendant sold methamphetamine to the CBS:

           a. On January 22,2020, the CBS purchased a quantity of methamphetamine from the
              Defendant at the Defendant's residence, 580 Irving Avenue, Millville, NJ.

           b. On February 5, 2020, the CBS purchased a quantity of methamphetamine         from the
              Defendant at the Defendant's residence

           c. On February 18, 2020, the CHS purchased a quantity of methamphetamine         from the
              Defendant in the parking lot of a business in Vineland, NJ.

           d. On March 5, 2020, the CBS met the Defendant at the Defendant's home. The CBS and
              the Defendant then drove to a nearby store in the CBS's vehicle. The Defendant then
              sold the CHS a quantity of methamphetamine, got out of the car, and walked into the
              store. The CBS then drove back to the predetermined meet location for debriefing.

           e. On May 1,2020, the CBS met with the Defendant at the Defendant's residence. The
              CBS paid for a quantity of methamphetamine that the Defendant later agreed to supply.
              On May 4,2020, the CHS again met with the Defendant at the Defendant's residence.
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                Once there, the Defendant gave the CHS the quantity of methamphetamine    that the
                CHS had paid for on May 1,2020.

           f.   On August 9,2020, the CHS purchased a quantity of methamphetamine      from the
                Defendant at the Defendant's residence.

           g. On August 26, 2020, the CHS purchased a quantity of methamphetamine        from the
              Defendant at a business in Vineland, NJ.

           h. On September 9,2020, the CHS purchased a quantity of methamphetamine         from the
              Defendant at the Defendant's residence.

       4.     The methamphetamine that the CHS purchased from the Defendant was sent to a Drug
Enforcement Administration laboratory for testing. The testing showed that the substances sold by the
Defendant were in fact a mixture or substance containing methamphetamine, its salts, isomers, and
salts of its isomers, weighing over 500 grams.


         Pursuant to Fed. R. Crim. P. 4.1, Special Agent Snow was sworn and attested to the contents of
this affidavit via telephone on December 11, 2020.




S cial Agent Jonathan Snow
Federal Bureau of Investigation




Honorable Ann Marie Donio
United States Magistrate Judge
